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                                                                April 11, 2022

  ECF and VIA EMAIL: chambers_of_jks@njb.uscourts.gov

  Honorable John K. Sherwood
  United States Bankruptcy Court
  District of New Jersey
  50 Walnut Street, 3rd Floor
  Newark, NJ 07102

  Re:     Hajjar Business Holdings, LLC, et al. (the “Debtors”)
          Case No. 20-12465 (JKS) (Jointly Administered) (the “Bankruptcy Case”)

  Dear Judge Sherwood:

         This firm represents MSC–Regent HMOB HoldCo, LLC (“MSC”) in connection with
  the above-referenced Bankruptcy Case. MSC writes in response to the Debtors’ letter dated
  April 11, 2022, and in furtherance of MSC’s letter dated April 9, 2022.1

          MSC is a party-in-interest with standing to be heard in this Bankruptcy Case. Among
  other things, MSC is in possession of an assignment of the Pledged Interests in the Owner
  Debtors that was executed by the Mezzanine Entities in blank concurrently with the Pledge
  and Security Agreement (Mezzanine Loan) dated April 29, 2016. The Estate of Bryan
  Massoud (“Massoud”) lays claim to these very same Pledged Interests. The Debtors are
  willing to disclose Massoud’s allegation that it has a thirty percent (30%) equity interest in
  each of HMOB of Fair Lawn Mezz, LLC and Debtor HMOB of Fair Lawn Owner, LLC, yet
  refuse to disclose that MSC has a security interest in the very equity claim Massoud seeks to
  assert. The Debtors’ failure to disclose the complete set of facts regarding the Pledged
  Interests is prejudicial to MSC.

          The Debtors are required to make a full and accurate disclosure of all of parties’
  interests. MSC merely asks that the Debtors fulfil their disclosure obligations with respect to
  MSC’s lien on the Pledged Interests in the Owner Debtors and resulting rights and remedies.

        We urge the Court to approve the First Amended Disclosure statement with the
  changes attached as Exhibit “A” to our April 9th letter.



  1
          Capitalized terms not otherwise defined have the meanings ascribed to them in the April 9, 2022 letter.
  ____________________________________________________________________________________________________

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          We thank the Court for its consideration.

                                                      Respectfully submitted,

                                                      /s/ Allison J. Arotsky

                                                      Allison J. Arotsky


  cc:     Sari B. Placona (via email)
          Anthony Sodono, III (via email)
          Fran B. Steele (via email)
          Christopher P. Mazza (via email)
          Kelly D. Curtin (via email)
          Lawrence J. Kotler (via email)
          Jonathan P. Vuotto (via email)
          Marc L. Hamroff (via email)




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